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                        Registration #:    PA0002280030
                     Service Request #:    1-10156210289




Mail Certificate


Perkins Coie LLP
Patchen M. Haggerty
P.O. Box 2608
Seattle, WA 98111 United States




                               Priority: Special Handling               Application Date: February 10, 2021
Note to C.O.: Copyright application is for the multimedia elements of a videogame. Deposit materials include a written
synopsis of the videogame, sound recordings, a video of gameplay, and a series of pictorial images to represent the
audiovisual elements. The artwork in the deposit is collective as a whole of the videogame.


Correspondent



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                               Name:       Patchen M. Haggerty
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                                                                                    Registration Number
                                                                                    PA 2-280-030
                                                                                    Effective Date of Registration:
                                                                                    February 10, 2021
                                                                                    Registration Decision Date:
                                                                                    March 05, 2021




    Title
                         Title of Work:     Destiny 2: Beyond Light


    Completion/Publication
                   Year of Completion:      2020
                Date of 1st Publication:    November 10, 2020
               Nation of 1st Publication:   United States

    Author

                     •       Author:        Bungie, Inc.
                      Author Created:       audiovisual material including music and sounds
                   Work made for hire:      Yes
                           Citizen of:      United States

                     •       Author:        Activision Publishing, Inc.
                      Author Created:       contributions to audiovisual material
                   Work made for hire:      Yes
                           Citizen of:      United States

    Copyright Claimant

                   Copyright Claimant:      Bungie, Inc.
                                            550 106th Ave NE, Suite 207, Bellevue, WA, 98004, United States
                    Transfer statement:     By written agreement
1
    Limitation of copyright claim

      Material excluded from this claim:    preexisting audiovisual material, music compositions and sound recordings from
                                            previous versions of "Destiny 2" videogame

        New material included in claim:     audiovisual material including musical compositions and sounds
1
     Rights and Permissions
                                                                                                                Page 1 of 2
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             Organization Name:     Bungie Legal Department, Bungie, Inc.
                          Email:    legal@bungie.com
                        Address:    550 106th Ave NE
                                    Suite 207
                                    Bellevue, WA 98004 United States

Certification

                           Name:    Patchen M. Haggerty
                            Date:   February 10, 2021
    Applicant's Tracking Number:    139303-6000.US04
                            Date:   February 10, 2021
                                    Approved
                Correspondence:     Yes




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URL
https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-aimjunkies-for-now-220528/
Timestamp
Mon May 16 2022 10:49:43 GMT-0700 (Pacific Daylight Time)
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URL
https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-aimjunkies-for-now-220528/
Timestamp
Mon May 16 2022 10:49:43 GMT-0700 (Pacific Daylight Time)
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URL
https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-aimjunkies-for-now-220528/
Timestamp
Mon May 16 2022 10:49:43 GMT-0700 (Pacific Daylight Time)
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URL
https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-aimjunkies-for-now-220528/
Timestamp
Mon May 16 2022 10:49:43 GMT-0700 (Pacific Daylight Time)
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URL
https://torrentfreak.com/court-dismisses-bungies-copyright-claims-against-cheat-seller-aimjunkies-for-now-220528/
Timestamp
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                     EXHIBIT 6
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From:                Rava, William C. (SEA)
To:                  Phil Mann
Cc:                  Dini, Jacob (SEA); Marcelo, Christian W. (SEA)
Subject:             Bungie v. AimJunkies -- sale of AimJunkies?
Date:                Wednesday, May 11, 2022 3:41:17 PM


Phil,

Bungie recently saw an article (https://torrentfreak.com/court-dismisses-bungies-copyright-
claims-against-cheat-seller-aimjunkies-for-now-220528/) in which it was reported that your
clients said that “they are in the final stages of selling the AimJunkies websites to a Ukrainian
group of investors.” Bungie is extremely concerned that such a sale will include transfer of
the AimJunkies Destiny 2 cheat software, including the source code for the cheat, to an
unknown foreign group that is outside any US court’s jurisdiction and against which Bungie
might be unable to enforce its intellectual property rights. Bungie is also concerned that such
a sale could lead to the destruction or removal of relevant evidence or records related to this
case.

No later than May 13, 2022, please confirm (a) whether the sale has been completed and (b)
whether your clients have included/will be including the AimJunkies Destiny 2 cheat software
in the sale of the AimJunkies websites.

Please note that destruction or deletion of any evidence relevant to this matter could have
serious legal consequences. Bungie therefore requests that Defendants take all appropriate
steps to preserve any documents or other evidence relating to this matter, whatever the status
of the sale of the AimJunkies websites.

Best,

Will

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From:             Dave Ricky-Bobby
To:               Pete Parsons
Subject:          Will Rave /Perkins Coie
Date:             Thursday, August 26, 2021 7:23:03 AM


CAUTION: This email originated from outside of Bungie. Do not click links or open attachments unless you
recognize the sender and know the content is safe.

Pete:

My name is David Schaefer I'm being litigated along with my partners as a group by Will Rava @
Perkins Coie. I understand Mr. Rava is a fine young man and very motivated to do right for his client
"Yourself". What Mr. Rava does not understand is there is repercussions to what he is doing.  

 We were served with a cease-and-desist last year for your product. We complied with the order but did
not respond to him that it was accomplished. We have ALWAYS every single time we have been served,
complied.

 Last month we were served with a lawsuit and at that point provided documentation to him we
stopped selling the cheat and financials for it. That seems too not be enough for him now. It seems he
wants to for lack of better terms push our face in the mud over this. We are not a wealthy company. In
fact, we have been upside down for the last 18 mos. and have not drawn a salary. Only making payroll. I
have people who support their families here. So, there is no corporate money here to be had or
personal monies from us as individuals in a settlement.

 It is one thing to ask us to remove your product from our shelves but it is another to attempt to
financially destroy us. What he does not comprehend is that we were making game cheats when he was
in high school, we are not new to this. We will be producing cheats long after he's gone. All you are
going to do by pushing this further is driving us back underground. It is a fool's folly to believe you can
end cheating in your games, and you have the mud on your face when you spend the money you're
spending on litigation to eventually find out cheaters are still there.

 We 100% agree to not sell your product anymore but beyond that we cannot agree to his outrageous
terms. We can bend over and take it from him if need be but In doing so it motivates us.  

 In the old days sites would put the source code on public forums for every 14yo to get and make a
hack for your game. Most of the time when they do it they make it a free public cheat accessible to
everyone. Imagine players having access to cheats for free? I don't think anyone wants to go back to
those days. The net net would be you would have more cheaters in your game then before the
crusader came in. Is that what you're looking for in your game?

Please for both of ours benefit call your crusader off.

If you want to talk i would take your call

David Schaefer 8312470741
